
PER CURIAM:
This claim was submitted for decision based upon the allegations in the Notice of Claim and the respondent’s Answer.
Claimant, Regional Jail and Correctional Facility Authority, provides and maintains the Eastern Regional Jail, the Central Regional Jail, the South Central Regional Jail, the Southern Regional Jail, and the Northern Regional Jail as facilities for the incarceration of prisoners who have committed crimes in various counties. Some of the prisoners held in these regional jails have been sentenced to facilities owned and maintained by the respondent, Division of Corrections. Claimant brought this action in the amount of $48,020.00, to recover the costs of housing and for providing associated services to $48,020.00, to recover the costs of housing and for providing associated services to prisoners who have been sentenced to a State penal institution, but due to circumstances beyond the control of the claimant, these prisoners have had to remain in the regional jails for periods of time beyond the dates of the commitment orders.
Respondent and claimant filed a Stipulated Settlement Agreement wherein the parties agreed to the validity of the claim and that the amount of $38,710.00 is a fair and reasonable amount for the housing costs and associated services provided by the claimant. Further, the parties agreed to submit a Nunc Pro Tunc Order from the Circuit of Court of Mineral County for the housing costs of an inmate directed by the Circuit Court to be paid by the respondent in the amount of $12,377.52. The parties have agreed to have the Court make an award based upon this Order in order to avoid the filing of an additional claim. Therefore, the Court has considered the Order as a part of this claim. The total amount owed by the respondent to the claimant in this claim is $51,087.52.
This Court has determined in prior claims by claimant for the cost of housing inmates that respondent is liable to claimant for these costs, and the Court has made the appropriate awards. This issue was considered by the Court previously in the claim of County Comm’n. of Mineral County v. Div. of Corrections, an unpublished opinion of the Court of Claims issued November 21, 1990, wherein the Court held that the respondent is liable for the cost of housing inmates.
In view of the foregoing, the Court makes an award to claimant in the amount of $51,087.52.
Award of $51,087.52.
